
984 So.2d 252 (2008)
ESTATE OF Ronald BREWER
v.
STATE FARM FIRE &amp; CASUALTY INS. CO.
No. CA 08-35.
Court of Appeal of Louisiana, Third Circuit.
May 28, 2008.
*253 Terry L. Rowe, Attorney at Law, Lafayette, LA, for Defendant/Appellant, State Farm Fire &amp; Casualty Insurance Company.
Robert C. McCorquodale, Stutes, Fontenot, Lavergne &amp; Lutz, LLC, Lake Charles, LA, for Plaintiff/Appellee, Estate of Ronald Brewer.
Court composed of OSWALD A. DECUIR, MARC T. AMY, and BILLY HOWARD EZELL, Judges.
DECUIR, Judge.
For the reasons assigned in the consolidated case entitled White v. State Farm Insurance Company, 07-1341 (La.App. 3 Cir. 05/28/08), 984 So.2d 243, rendered this day, the judgment of the trial court is affirmed. Costs of this appeal are assessed to State Farm Fire &amp; Casualty Company.
AFFIRMED.
